   Case 1:21-cv-00633-MN Document 7 Filed 08/25/21 Page 1 of 3 PageID #: 43




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §                        Case No.: 1:21-cv-00633-MN
                                      §
vs.                                   §                        PATENT CASE
                                      §
TICKETLEAP, INC.,                     §
                                      §
      Defendant.                      §
_____________________________________ §

                 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” and/or “STI”) hereby files

this Response to the Court’s Order to Show Cause dated July 13, 2021 [Doc. 6], and, for the reasons

stated herein, respectfully requests that the Court not dismiss this action.

       On April 30, 2021, Plaintiff filed its Complaint against Defendant Tickeatleap, Inc.

(“Defendant” and/or “Ticketleap”) [Doc 1].

       Plaintiff has been attempting to serve the Defendant. Plaintiff initiated service on the

Defendant at Defendant’s registered address for service by certified mail, return receipt requested.

As of today, Plaintiff is still waiting for confirmation that the Defendant has been served.

Furthermore, through additional research, Plaintiff has located an additional address at which

Plaintiff is attempting service.

       In light of the foregoing, Plaintiff respectfully requests that the Court not dismiss this action

and the Court provide Plaintiff with additional time to serve Defendant.




PLAINTIFF’S RESPONSE TO SHOW CAUSE ORDER                                                       PAGE | 1
   Case 1:21-cv-00633-MN Document 7 Filed 08/25/21 Page 2 of 3 PageID #: 44




Dated August 25, 2021.               Respectfully Submitted,

                                     /s/David W. deBruin
                                     David W. deBruin, Esq. (#4846)
                                     Gawthrop Greenwood, PC
                                     3711 Kennett Pike, Suite 100
                                     Wilmington, DE 19807
                                     302-777-5353
                                     ddebruin@gawthrop.com

                                     ATTORNEYS FOR PLAINTIFF




                          CERTIFICATE OF SERVICE



PLAINTIFF’S RESPONSE TO SHOW CAUSE ORDER                               PAGE | 2
   Case 1:21-cv-00633-MN Document 7 Filed 08/25/21 Page 3 of 3 PageID #: 45




        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on August 25, 2021. Parties may
access the foregoing through the Court’s system.


                                             /s/draft
                                             David W. deBruin, Esq.




PLAINTIFF’S RESPONSE TO SHOW CAUSE ORDER                                                  PAGE | 3
